Case 09-11198-GMB_ Doc 200-4 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Proposed Order

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

CIARDI CIARDI & ASTIN
Albert A. Ciardi, III, Esquire
Nicole M. Nigrelli, Esquire
Jennifer E. Cranston, Esquire
One Commerce Square, Suite 1930
2005 Market Street
Philadelphia, PA 19103
(215) 557-3550

(215) 557-3551 fax
aciardi@ciardilaw.com
nnigrelli@ciardilaw.com
jcranston@ciardilaw.com

In Re:
HERITAGE HIGHGATE, INC, et al.,

Debtors.

Page 1 of 2

CASE NO. 09-11198(GMB)

JUDGE: GLORIA M. BURNS

ORDER GRANTING THE MOTION OF THE DEBTOR TO DETERMINE THE VALUE
OF THE SECURED CLAIMS OF PROBUILD EAST, LLC PURSUANT
TO 11 U.S.C. §506(a) AND RULE 3012 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE

The relief set forth on the following pages numbered two (2) is hereby ORDERED.
Case 09-11198-GMB_ Doc 200-4 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc
Proposed Order Page 2 of 2

This matter came before the Court on the Motion (the ‘“Motion”) of the Debtor and
Debtor-in-Possession (the “Debtor’’) requesting a determination of the value of the claims of
ProBuild East, LLC asserted as being secured by a lien on property of the Debtors pursuant to 11
U.S.C. §506(a) and Rule 3012 of the Federal Rules of Bankruptcy Procedure; all as more fully
set forth in the Motion; and the Court having jurisdiction to consider the Motion and the relief
requested therein in accordance with 28 U.S.C. §§157 and 1334; and the Court having
determined that adequate notice of the Motion has been given; and the Court having read and
considered the Motion, objections to the Motion, if any, and arguments of any counsel appearing
regarding the relief requested in the Motion at a hearing before the Court; and the Court having
determined that the legal and factual bases set forth in the Motion and at any Hearing establish

just cause for the relief granted herein:

It is hereby ORDERED that:

1. The Motion is hereby GRANTED in its entirety.

2. The value of the secured portion of ProBuild East, LLC’s claims is $0.00, and, as
a result, ProBuild East, LLC is determined to hold wholly unsecured claims under the
Bankruptcy Code, lacking the standing to object to the sale of lots in the Debtor’s Estate.

3. The ProBuild East, LLC claims shall be treated as wholly u nsecured claims for
any and all purposes in the Debtor’s case, including, but not limited to, for all purposes and

treatment under the Plan.
